IN THE DISTRICT COURT OF THE UNITED STATES FOR THE                     

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION                       


HASALEE MIMS,                   )                                         
                             )                                         
  Plaintiff,                 )                                         
                             )       CIVIL ACTION NO.                  
  v.                         )         2:19cv499-MHT                   
                             )              (WO)                       
THE UNITED STATES, et al.,      )                                         
                             )                                         
  Defendants.                )                                         

                         OPINION                                       
  Pursuant   to  42   U.S.C.   § 1983  and   Bivens   v.  Six          
Unknown   Named  Agents   of  Federal   Bureau   of  Narcotics,           
403 U.S. 388 (1971), plaintiff, a state prisoner, filed                   
this   lawsuit    contending    that   “Megan’s    Crime    Law”          
violates the constitutional rights of people convicted                    
of sex offenses.  This lawsuit is now before the court                    
on  the  recommendation    of  the  United  States   Magistrate           
Judge  that   plaintiff’s   case   be  dismissed   for  lack  of          
jurisdiction.        There    are   no   objections     to   the          
recommendation.       After   an  independent     and  de   novo          
review   of  the   record,   the  court   concludes   that   the          
magistrate judge’s recommendation should be adopted.                      
An appropriate judgment will be entered.                             
DONE, this the 8th day of October, 2019.                             

                         /s/ Myron H. Thompson                    
                      UNITED STATES DISTRICT JUDGE                